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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    DOUGLAS BEEVERS, USVI Bar #766
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    JAIRO ZAPIEN
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. 2:10-cr-00162 JAM
                                     )
12                  Plaintiff,       )
                                     )      STIPULATION AND ORDER FOR U.S.
13        v.                         )      PROBATION TO PREPARE A PRE-PLEA
                                     )      PRESENTENCE REPORT
14   JAIRO ZAPIEN,                   )
                                     )
15                  Defendants.      )      Judge: Hon. John A. Mendez
                                     )
16   _______________________________ )
17        Defendant, JAIRO ZAPIEN, by and through his counsel, Assistant
18   Federal Defender DOUGLAS J. BEEVERS, and Plaintiff, United States of
19   America, by and through its counsel HEIKO COPPOLA, hereby stipulate and
20   agree to the following:
21        1. The parties re quest that the Court order U.S. Probation to
22   prepare a pre-plea pre-sentence report including a criminal record check
23   and a preliminary guideline calculation.
24        2. The Defendant agrees that all delay in the case resulting from
25   the pre-plea pre-sentence report process would be excluded for purposes
26   of speedy trial calculations as a T4 continuance.
27        3. The parties agree to provide copies of any criminal records
28   information to U.S. Probation to facilitate the preparation of the
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1    report. The parties believe that they have already obtained certified
2    copies of most of the significant criminal history documents needed for
3    a guideline calculation.
4         4. The parties believe that this pre-plea pre-sentence report will
5    facilitate a plea agreement, and will facilitate the preparation of a
6    final pre-sentence report.
7
8    Dated: November 1, 2011                Respectfully submitted,
9                                           DANIEL J. BRODERICK
                                            Federal Defender
10
                                            /s/ Douglas Beevers
11                                          DOUGLAS BEEVERS
                                            Assistant Federal Defender
12                                          Attorney for Defendant
                                            JAIRO ZAPIEN
13
14   Dated: November 1, 2011
                                            BENJAMIN B. WAGNER
15                                          UNITED STATES ATTORNEY
16                                          /s/ Heiko Coppola
                                            HEIKO COPPOLA
17                                          Assistant United States Attorney
                                            Attorney for Plaintiff
18
19
                                          ORDER
20
          Based upon the stipulation of counsel set forth above, the Court
21
     adopts the stipulations.
22
          IT IS ORDERED.
23
     Dated: November 2, 2011
24
                                            /s/ John A. Mendez
25                                          HON. JOHN A. MENDEZ
                                            UNITED STATES DISTRICT COURT JUDGE
26
27
28


     Zapien Stip/Order                     -2-
